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UNITED STATES OF AMERICA

vs. CRIMINAL NO. 4:18-CR-239-A

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BOBBY CAMPBELL (01)

 

MOTION FOR HEARING PURSUANT TO FED. R. EVID. 104
TO DETERMINE ADMISSIBILITY OF CO-CONSPIRATOR STATEMENTS
(With Incorporated Memorandum of Law in Support)

 

TO THE HONORABLE UNITED STATES DISTRICT JUDGE JOHN MCBRYDE:

NOW COMES Defendant BOBBY CAMPBELL, by and through his trial counsel and
files this Motion for Hearing and Would show this Honorable Court as follows:

I
MoTIoN

The Defendant moves the Court to conduct a hearing in advance of trial to determine the
admissibility of out of court statements made by any alleged co-conspirators or codefendants in
this case that the Government contends are admissible pursuant to Rule 801(d)(2)(E), Federal
Rules of Evidence, or otherwise The Defendant objects to the admissibility of such statements
and submits that a pre-trial hearing is necessary to determine the admissibility of such statements

if the Government intends to offer such evidence. Those statements are not admissible under the

 

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Federal Rules of Evidence and their admission Would violate the Defendant’s right to due
process of law and to confront the Witnesses against them as guaranteed by the Fifth and Sixth
Amendments to the United States Constitution. If the Government alleges that such out of court
statements of co-conspirators or co-defendants are admissible into evidence before the jury, the
Defendants request that the Government be required to reveal those statements and that a pre-
trial hearing be conducted to determine Whether they are admissible into evidence.
II
BRIEF IN SUPPORT

Fed. R. Evid. 801(d)(2)(E) provides that a statement is not hearsay if the statement is
offered against a party and is “(E) a statement by a co-conspirator of a party during the course
and in furtherance of the conspiracy.” “Before admitting a co- conspirator’s statement over an
objection that it does not qualify under Rule 801(d)(2)(E), [t]here must be evidence that there
Was a conspiracy involving the declarant and the non-offering party, and that the statement Was
made ‘in the course and in furtherance of the conspiracy.” Bourjaily v. United States, 107 S.Ct.
2775, 2778 (1987).

The existence of the conspiracy and the defendant’s involvement in that conspiracy are
preliminary questions of fact that, under Rule 104 of the Federal Rules of Evidence, must be
resolved by the court. Ld. The Government has the burden of proving by a preponderance of the
evidence that there Was a conspiracy, that the defendant knew of and participated in the
conspiracy, and that the statements Were made in the course and in furtherance of the conspiracy.
L, at p. 2779; U.S. v. Sz'lvermcm, 44 Cr.L. 2206 (9th Cir. 11-16-88); U. S. v. Milietl 804 F.2d 853

(srh Cir. 1986); U. S_ v. Milzer~, 799 F.2d 985 (sth Cir. 1986).

 

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In Bourjaily, the court held that the offered statement itself can be considered by the trial
judge in determining whether a conspiracy existed, and the defendant was a part of it. However,
the statement at issue cannot provide the sole evidentiary support for its own admissibility
“[T]here must be proof ‘aliunde,’ that is, evidence from another source, that together with the
contents of the statement satisfies the preliminary conditions for admission of the statement
Bourjaily v. United States, supra, 2784 (concurring opinion, Stevens, J.); Glasser v. United
States, 315 U.S. 60, 74, 62 S.Ct. 457, 467, 86 L.Ed. 680 (1942). United States v. Perez, 823 F.2d
854 (5th. Cir. 1987); U.S. v. Silverman, supra. This is because out of court statements made by a
co-conspirator purporting to implicate others in an unlawful conspiracy are even more suspect
than the ordinary out of court statement, which is presumptively unreliable U.S. v. Silverman,
supra. “Because of this presumptive unreliability, a co-conspirator’s statement implicating the
defendant in an alleged conspiracy must be corroborated by fairly incriminating evidence
Evidence of wholly innocuous conduct or statements by the defendant will rarely be sufficiently
corroborative of the co-conspirator’s statement to constitute proof, by a preponderance of the
evidence, that the defendant knew of and participated in the conspiracy.” U.S. v. Silverman, 44
Cr.L. 2207.

The Supreme Court in Bourjaily specifically stated that it was not rendering an opinion
on the proper order of proof that a trial court should follow in determining the admissibility of
statements under Rule 801(d)(2)(E). Bourjaily v. United States, supra, 2779 n. 1. Therefore, that
portion of the James opinion dealing with the order of proof should not be affected by the
Bourjaily case. ln James, the Fifth Circuit held that District Courts should, “whenever

reasonably practical, require the showing of a conspiracy and of the connection of the Defendant

 

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with it before admitting the declarations of a co-conspirator.” United States v. James, 590 F.2d.
575, 582. To admit the co-conspirator’s statements into evidence the Government, as a
preliminary matter, must put on substantial evidence of a conspiracy and of the Defendant’s
connection with the conspiracy, sufficient to take the question to the jury. At the end of the trial,
on appropriate motion by the defense, the court must determine as a factual matter whether the
prosecution has shown by a preponderance of the evidence that a conspiracy existed, that the co-
conspirator and the Defendant against whom the co-conspirator’s statement is offered were
members of the conspiracy and that the statement was made during the course and in furtherance
of the conspiracy. United States v. James, supra, 582.

Fed. R. Evid. 104(c) provides that hearings on preliminary matters shall be conducted
outside the hearing of the jury when the interests of justice require. The court in James stated
that its opinion intended to establish only minimum standards for the admissibility of co-
conspirator’s statements and that nothing in the opinion should be interpreted as preventing a
trial judge from requiring more meticulous procedures to assure that the statements were
properly authenticated and that a preponderance of the evidence establishes their admissibility.
United States v. James, supra,.583.

The admission into evidence of out of court statements of alleged co-conspirators
presents evidence against the Defendants that they are unable to cross examine because the
declarant is not available to testify in Court. The unavailability of the declarant deprives the
Defendant of the ability to cross examine the declarant and to be personally confronted by a
witness against him. Despite authority to the contrary, the Defendant contends that the

admissibility of such evidence violates his rights to due process of law and to cross examine and

 

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confront the witnesses against him, in violation of his rights under the Fifth and Sixth

Amendments of the United States Constitution.

PRAYER
WHEREFORE, the Defendant prays that a hearing be conducted in advance of trial
outside the presence of the jury for the court to determine the admissibility of any co-

conspirator’s declarations that the Government seeks to have admitted into evidence.

Respectfully Submitted,

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CERTIFICATE OF CONFERENCE

I hereby certify that I, VINCENT WISELY, attorney for defendant, did confer with
CHRIS WOLFE, the Assistant United States Attomey assigned to this matter, and he is

OPPOSED to this motion.
VINCENT E. WISELY 5

Representing Defendant Bobby Campbell

 

CERTIFICATE OF SERVICE

l VINCENT WISELY, hereby certify that on October 11, 2018, the foregoing motion
was filed in paper form with the U.S. District Clerk for the Northern District of Texas, with a
copy delivered to CHRIS WOLFE, the Assistant United States Attorney assigned to this case.

VINCENT E. WISELY
Representing Defendant Bobby Campbell

 

 

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